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                                                                           United States Bankruptcy Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                  IN THE UNITED STATES BANKRUPTCY COURT                           April 13, 2023
                        SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                             HOUSTON DIVISION

                                                       Bankruptcy
In re
                                                       Case No. 22-33553 (CML)
Alexander E. Jones,
                                                       Chapter 11
              Debtor,

                                                       Bankruptcy
In re
                                                       Case No. 22-60043 (CML)
Free Speech Systems LLC,
                                                       Chapter 11
              Debtor,

Neil Heslin, Scarlett Lewis, Leonard Pozner,
Veronique De La Rosa, and Estate of                    Adv. Pro. No.: 23-03034 (CML)
Marcel Fontaine,
              Plaintiffs,
        v.
Alexander E. Jones and Free Speech Systems LLC,
              Defendants.

David Wheeler, Francine Wheeler, Jacqueline
Barden, Mark Barden, Nicole Hockley, Ian Hockley,      Adv. Pro. No. 23-03036 (CML)
Jennifer Hensel, Donna Soto, Carlee Soto-Parisi,
Carlos M. Soto, Jillian Soto Marino, William
Aldenberg, William Sherlach, Robert Park, and
Richard M. Coan, as chapter 7 trustee for the estate
of Erica Lafferty,
              Plaintiffs,
v.
Alexander E. Jones and Free Speech Systems LLC,
              Defendants.


STIPULATION AND AGREED ORDER ABATING FSS ADVERSARY PROCEEDINGS
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        This stipulation and agreed order (“Stipulation and Agreed Order”) is made by and between

debtor Free Speech Systems, LLC (“FSS”), the Texas Plaintiffs, 1 and the Connecticut Plaintiffs in

the above-captioned cases:

        WHEREAS, on July 29, 2022, FSS filed a voluntary petition for relief under Chapter 11

of title 11 of the United States Code (the “Bankruptcy Code”) with the United States Bankruptcy

Court for the Southern District of Texas (the “Court”) (Bankruptcy Case No. 22-60043 (CML);

        WHEREAS, on December 2, 2022, Alexander E. Jones (“Jones”) filed a voluntary petition

for relief under the Bankruptcy Code with the Court (Bankruptcy Case No. 22-33553 (CML));

        WHEREAS, on March 10, 2023, the Texas Plaintiffs filed adversary proceedings against

FSS and Jones, (Adv. Pro. Nos.: 23-03034 and 23-03035 (together, the “Texas Plaintiffs’

Adversary Proceedings”));

        WHEREAS, on March 10, 2023, the Connecticut Plaintiffs filed adversary proceedings

against FSS and Jones, (Adv. Pro. Nos.: 23-03036 and 23-03037 (together, the “Connecticut

Plaintiffs’ Adversary Proceedings,” and with the Texas Plaintiffs’ Adversary Proceedings, the

Adversary Proceedings”));

         WHEREAS, on March 24, 2023, the Texas Plaintiffs and Connecticut Plaintiffs filed the

Texas and Connecticut Plaintiffs’ Motions;

        WHEREAS, on April 4, 2023, the Court held a hearing on the Texas and Connecticut

Plaintiffs’ Motions;


1
    Defined terms used, but not defined herein, have the meanings ascribed to them in Emergency Motion of the Texas
    Plaintiffs for Entry of an Order (A) Scheduling Certain Dates and Deadlines, (B) Establishing Certain Protocols
    in Connection with Such Hearings, and (C) Granting Related Relief [Docket No. 7 in Adv. Pro. Case Nos. 23-
    03034 (CML) and 23-03035 (CML)] (the “Texas Plaintiffs’ Motion”) and the Emergency Motion of the
    Connecticut Plaintiffs for Entry of an Order (A) Scheduling Certain Dates and Deadlines, (B) Establishing
    Certain Protocols in Connection with Such Hearings, and (C) Granting Related Relief [Docket No. 16 in Adv.
    Pro. Case Nos. 23-03036 (CML) and 23-03037 (CML)] (the “Connecticut Plaintiffs’ Motion,” and together with
    the Texas Plaintiffs’ Motion, the “Texas and Connecticut Plaintiffs’ Motions”)
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         NOW, THEREFORE, IT IS HEREBY STIPULATED, AGREED AND SO

ORDERED:

         1.    Adversary Proceedings 23-03034 and 23-03036 (together, the “FSS Adversary

Proceedings”) shall be abated until the earlier of fourteen (14) days after the Fifth Circuit Court of

Appeals issues a decision in, or declines to hear, the appeal certified on February 2, 2023 in Avion

Funding, LLC v. GFS Industries, LLC¸ Case No. 23-90009.

         2.    Jones and FSS shall not argue that the pendency of the Adversary Proceedings

prohibits the Texas Plaintiffs and/or the Connecticut Plaintiffs from taking any discovery outside

of the Adversary Proceedings that they would otherwise be entitled to take pursuant to Rule 2004

of the Federal Rules of Bankruptcy Procedure and Local Rule 2004-1 of the United States

Bankruptcy Court for the Southern District of Texas.

         3.    By entry of this Order, the Connecticut Plaintiffs and the Texas Plaintiffs hereby

dismiss Jones, without prejudice, from the FSS Adversary Proceedings.

         4.    For the avoidance of doubt, the Texas Plaintiffs and Connecticut Plaintiffs agree

not to assert that FSS is estopped from relitigating matters that are litigated in the Jones Adversary

Proceedings (Case Nos. 23-03035 and 23-03037) while the FSS Adversary Proceedings are abated.

         5.    This Stipulation and Agreed Order shall not be modified, altered, amended, or

vacated without the prior written consent of FSS, the Texas Plaintiffs, and Connecticut Plaintiffs,

and any such amendment, modification or alteration, in whole or in part, shall be subject to the

approval of the Court.

         6.    The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Stipulation and Agreed

Order.
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 THE FOREGOING STIPULATION IS SO ORDERED:


 Dated: April
         April___,
          August13,2023
                    02,
                    20232019




 AGREED IN FORM AND SUBSTANCE:

 Dated: April 12, 2023

CAIN & SKARNULIS PLLC                         WILLKIE FARR & GALLAGHER LLP
By: /s/ Ryan E. Chapple                       By: /s/ Jennifer J. Hardy
Ryan E. Chapple                               Jennifer J. Hardy
State Bar No. 24036354                        State Bar No. 24096068
303 Colorado Street, Suite 2850               600 Travis Street
Austin, Texas 78701                           Houston, Texas 77002
Telephone: (512) 477-5000                     Telephone: 713-510-1700
Fax: (512) 477-5011                           Fax: 713-510-1799

Counsel to the Connecticut Plaintiffs         -and-

KOSKOFF KOSKOFF & BIEDER PC                   Rachel C. Strickland (admitted pro hac vice)
Alinor C. Sterling (admitted pro hac vice)    Stuart R. Lombardi (admitted pro hac vice)
350 Fairfield Avenue                          Ciara A. Sisco (admitted pro hac vice)
Bridgeport, Connecticut 06604                 787 Seventh Avenue
Telephone: (203) 336-4421                     New York, New York 10019
                                              Telephone: 212-728-8000
PAUL, WEISS, RIFKIND,                         Fax: 212-728-8111
WHARTON & GARRISON LLP
Kyle J. Kimpler (admitted pro hac vice)       MCDOWELL HETHERINGTON LLP
Christopher Hopkins (admitted pro hac vice)   Avi Moshenberg
Daniel S. Sinnreich (admitted pro hac vice)   State Bar No. 24083532
Daniel A. Negless (admitted pro hac vice)     1001 Fannin Street Suite 2700
Briana P. Sheridan (admitted pro hac vice)    Houston, Texas 77002
1285 Avenue of the Americas                   Telephone: 713-337-5580
New York, New York 10019-6064                 Fax: 713-337-8850
Telephone: (212) 373-3000
Fax: (212) 757-3990                              CHAMBERLAIN, HRDLICKA, WHITE,
                                                 WILLIAMS & AUGHTRY, PC
Counsel to the Connecticut Plaintiffs other than Jarrod B. Martin
Richard M. Coan, as chapter 7 trustee for the State Bar No. 24070221
estate of Erica Lafferty                         1200 Smith Street Suite 1400
                                                 Houston, Texas 77002
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ZEISLER & ZEISLER, PC                        Telephone: 713-356-1280
Eric Henzy (admitted pro hac vice)           Fax: 713-658-2553
10 Middle Street, 15th Floor
Bridgeport, Connecticut 06604                Counsel to the Texas Plaintiffs
Telephone: (203) 368-5495

Counsel to Richard M. Coan, as chapter 7
trustee for the estate of Erica Lafferty



Law Offices of Ray Battaglia, PLLC
By: /s/ Raymond W. Battaglia
Raymond W. Battaglia
State Bar No. 01918055
66 Granburg Circle
San Antonio, Texas 78218
Telephone: (210) 601-9405

Counsel to Debtor Free Speech Systems, LLC
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing stipulation has been served on
counsel for FSS and Jones and all parties receiving or entitled to notice through CM/ECF on this
12th day of April, 2023.

                                                     /s/ Ryan E. Chapple
                                                     Ryan E. Chapple
